                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION


 In re: Jewell E. Brooks                      )              Case No.: 16-83042-CRJ-7
        SSN: xxx-xx-0176                      )
                                              )
               Debtor.                        )              Chapter 7

                                       STATUS REPORT

         COMES NOW the Trustee, Tazewell T. Shepard, and notifies the Court of the status of
 his liquidation of assets and distribution in the above-styled Chapter 7 case. Special Counsel,
 Rebekah McKinney, has recently negotiated a tentative settlement in an EEOC claim, subject to
 Bankruptcy Court approval. The parties have finalized the settlement agreement and a Motion
 for Approval of Compromise and Settlement and a Motion for Approval for Payment of
 Professional Fees for Special Counsel will be filed within the next two weeks.

        Respectfully submitted this the 30th day of April, 2020.


                                                  /s/ Tazewell T. Shepard
                                                  Tazewell T. Shepard
                                                  Trustee in Bankruptcy

                                                  SPARKMAN, SHEPARD & MORRIS, P.C.
                                                  P.O. Box 19045
                                                  Huntsville, Alabama 35804
                                                  Tel: (256) 512-9924
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                                 CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing document on Richard M.
 Blythe, Esq., Office of the Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602 by
 depositing said copy in the United States Mail in a properly addressed envelope with adequate
 postage thereon this the 30th day of April, 2020.


                                                  /s/ Tazewell T. Shepard
                                                  Tazewell T. Shepard




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